                                   Case: 1:24-cv-01841 Document #: 1-1 Filed: 03/05/24 Page 1 of 6 PageID #:7




                            Defendant
    Def.No.   Platform                                                                               Store URL
                             Seller
1             Amazon     Ulimart
                                             https://www.amazon.com/Ulimart-Organizer-Rotation-Camisoles-Top%EF%BC%88Silvery%EF%BC%89/dp/B0C13BBJKV/ref=
                                                 sr_1_4_sspa?keywords=belt%2Bhanger&qid=1702887543&sr=8-4-spons&sp_csd=d2lkZ2V0TmFtZT1zcF9hdGY&th=1

2             Amazon     HOMEBROS
                                             https://www.amazon.com/HOMEBROS-Rotatable-Organizer-Maximum-Capacity/dp/B0CH84SK2C/ref=sr_1_10?keywords=b
                         Official
                                                                           elt%2Bhanger&qid=1702887663&sr=8-10&th=1

3             Amazon     Znben Offocial
                                             https://www.amazon.com/Belt-Hanger-Tie-Organizer-Closet/dp/B0C5RCCZST/ref=sr_1_104?keywords=belt%2Bhanger&qid
                                                                                      =1702887883&sr=8-104&th=1

4             Alibaba    Meizhou Besten
                                             https://www.alibaba.com/product-detail/New-Design-Stainless-Steel-8-Hooks_1600867309549.html?spm=a2700.galleryofferlist.normal
                         Industrial Co.,
                                                                                            _offer.d_image.1dca769aMOvjmF
                         Ltd.
5             Alibaba    Hainan Guokong
                                             https://www.alibaba.com/product-detail/8-Claws-Belt-Tie-Metal-Organizer_1600929825461.html?spm=a2700.galleryofferlist.normal_of
                         Industrial Co.,
                                                                                              fer.d_image.654e746aSsBwKc
                         Ltd.
6             Alibaba    Zhejiang
                         Huaershun           https://www.alibaba.com/product-detail/subject_1600900415069.html?from=share&ckvia=share_EB6BF2B91E6F4FC68E17A3D9F771F8
                         Industry      And                                                                 1F
                         Trading Co., Ltd.
7             TEMU       Luling Culture
                                             Belt Hanger Belt Rack Closet Accessories Organizer Maximum - Temu


8             Amazon     UINICOR
                                             https://www.amazon.com/Uinicor-Belt-Hanger-Organizers-Organization/dp/B0C9MFYP7D/ref=sr_1_59_sspa?keywords=bel
                                                           t%2Bhanger&qid=1702885414&sr=8-59-spons&sp_csd=d2lkZ2V0TmFtZT1zcF9tdGY&th=1
                        Case: 1:24-cv-01841 Document #: 1-1 Filed: 03/05/24 Page 2 of 6 PageID #:8




9    Amazon    Easystorage
                                 https://www.amazon.com/Hanger-Closet-Monalife-360%C2%B0Rotating-Organizer/dp/B0C3XN8M2K/ref=sr_1_82?keywor
                                                               ds=belt%2Bhanger&qid=1702885414&sr=8-82&th=1

10   Amazon    Castta
                                 https://www.amazon.com/Portable-Organizer-Rotating-Storage-8-Claws/dp/B0C4H5FRDC/ref=sr_1_154_sspa?keywords=b
                                              elt%2Bhanger&qid=1702886955&sr=8-154-spons&sp_csd=d2lkZ2V0TmFtZT1zcF9tdGY&th=1

11   Amazon    Bgdkea
                                 https://www.amazon.com/Belt-Hanger-Rotatable-Accessories-Organizer/dp/B0C3YYMSDW/ref=sr_1_242_sspa?keywords=
                                          belt%2Bhanger&qid=1702887209&sr=8-242-spons&sp_csd=d2lkZ2V0TmFtZT1zcF9hdGZfbmV4dA&th=1

12   Alibaba   Guilin    Junju
                                 https://www.alibaba.com/product-detail/Multifunctional-Hook-360-Degree-Rotation-Electroplated_1600808609348.html?spm=a2700.g
               Hardwares Co.,
                                                                      alleryofferlist.normal_offer.d_image.4558746a3ipFHE
               Ltd.
13   Amazon    OMHOMETY
                                 https://www.amazon.com/OMHOMETY-Rotatable-Organizer-Accessories-Hanging/dp/B0BZZQF8SV/ref=sr_1_8?keywords=b
                                                               elt%2Bhanger&qid=1702884216&sr=8-8&th=1

14   Amazon    NEW               https://www.amazon.com/TOPIA-HANGER-360%C2%B0Swivel-Organizer-Organizers/dp/B0BX8TF99W/ref=sxin_12_pa_sp_s
               HIGHLAND          earch_thematic_sspa?content-id=amzn1.sym.d17ca69f-1a39-4f7d-a62f-e5dff4cfd6d8%3Aamzn1.sym.d17ca69f-1a39-4f7d-
                                 a62f-e5dff4cfd6d8&cv_ct_cx=belt%2Bhanger&keywords=belt%2Bhanger&pd_rd_i=B0BX8TF99W&pd_rd_r=eb0e7df9-d301
                                 -4a21-861d-d482a482815e&pd_rd_w=oLm7w&pd_rd_wg=DAitY&pf_rd_p=d17ca69f-1a39-4f7d-a62f-e5dff4cfd6d8&pf_rd_
                                 r=365EA6DEV35XA2KR4MVJ&qid=1702884216&sbo=RZvfv%2F%2FHxDF%2BO5021pAnSA%3D%3D&sr=1-3-364cf978-ce2a-
                                             480a-9bb0-bdb96faa0f61-spons&sp_csd=d2lkZ2V0TmFtZT1zcF9zZWFyY2hfdGhlbWF0aWM&th=1
15   Amazon    PODATOI
                                 https://www.amazon.com/PODATOL-Organizer-Rotating-Organizers-Camisoles/dp/B0BZYWF79Z/ref=sr_1_24?keywords=bel
                                                                 t%2Bhanger&qid=1702884216&sr=8-24&th=1

16   Amazon    SIJIANKE
                                 https://www.amazon.com/SJIANKE-Accessories-Organizer-Rotation-Storage/dp/B0CHN1CR4C/ref=sr_1_72?keywords=belt+
                                                                        hanger&qid=1702885414&sr=8-72
                         Case: 1:24-cv-01841 Document #: 1-1 Filed: 03/05/24 Page 3 of 6 PageID #:9




17   Amazon   Lunies
                                 https://www.amazon.com/Hanger-Organizer-Closet-Hanging-Scarf%EF%BC%88Silvery%EF%BC%89/dp/B0BZW1FBQ6/r
                                                       ef=sr_1_75?keywords=belt%2Bhanger&qid=1702885414&sr=8-75&th=1

18   Amazon   SCUNDA HOME
                                 https://www.amazon.com/SCUNDA-Organizer-Rotation-Accessories-Hanging/dp/B0CCY7DJRH/ref=sr_1_83?keywords=b
                                                               elt%2Bhanger&qid=1702885414&sr=8-83&th=1

19   Amazon   Ameolela
                                 https://www.amazon.com/Connector-Rotatable-Organizer-Accessories-Hanging/dp/B0CN9PMD2V/ref=sr_1_256?keywords
                                                                     =belt+hanger&qid=1702887351&sr=8-256

20   Amazon   Vitong
                                               https://www.amazon.com/dp/B0CKPYMT3Z/ref=mweb_up_am_fl_st_na_un_up_sm_vs_lns

21   Amazon   Kongran
                                            https://www.amazon.com/dp/B0CNYYPD9H/ref=mweb_up_am_fl_st_na_un_up_sm_vs_lns?th=1

22   Amazon   Richard Wen
                                               https://www.amazon.com/dp/B0CKMKHSPV/ref=mweb_up_am_fl_st_na_un_up_sm_vs_lns

23   Amazon   Tracy Zhong
                                               https://www.amazon.com/dp/B0CK3FLLN5/ref=mweb_up_am_fl_st_na_un_up_sm_vs_lns

24   Amazon   Limicounts
                                  Amazon.com: ABOOFAN Tie Belt Rack Closet Rod Hooks Scarf Tie Hangers Space Saving Belt Rack Belt Hook Hanging
                                     Belt Holders Handbag Rotating Hangers Key Holder Hook Iron Wardrobe Shoe Rack to Rotate : Home & Kitchen

25   Amazon   Babbage bad
                                  Amazon.com: IMIKEYA Tie Belt Rack Satchel Hanger Hats Hook Rotating Clothes Hook Purse Holder for Closet Metal
                                   Belt Hanger Garment Rack Coat Hooks Bag Hanging Rack to Rotate Organizer Socks Rack Iron : Home & Kitchen
                         Case: 1:24-cv-01841 Document #: 1-1 Filed: 03/05/24 Page 4 of 6 PageID #:10




26   Amazon    Somirow
                                     Amazon.com: Cabilock Tie Belt Rack Necktie Organizer Storage Hook for Belt Closet Rod Hooks Tie Hanger Garment
                                       Rack Rotary Hanger Purse Holder for Closet Bra Hanger Vest Iron Accessories Sock to Rotate : Home & Kitchen

27   Amazon    sinuoxiang
                                     https://www.amazon.com/dp/B0CPFVF9TD?ref_=cm_sw_r_apin_dp_MJ233FQFC3R1E63RK8MJ&language=en-US

28   Amazon    Thomas       Zack
                                    Amazon.com: Cabilock Tie Belt Rack Scarf Tie Hangers Scarf Hook Necktie Organizer 8 Hook Belt Organizer Rotatable
               Yang
                                         Belt Racks Closet Belt Organizer Rotating Clothes Hook to Rotate Key Chain Iron Bag : Home & Kitchen

29   Amazon    Ingrid GL
                                     Amazon.com: Hohopeti Tie Belt Rack Rotary Hanger Tie Hanger Handbag Rotating Hangers Garment Rack Belt Hook
                                      Necktie Organizer Metal Belt Hanger Rotatable Belt Racks Ordinary Iron to Rotate Socks Rack : Home & Kitchen

30   Amazon    Zecchetin
                                    Amazon.com: PRETYZOOM Tie Belt Rack Rotatable Belt Racks Garment Rack Storage Hook for Belt Key Holder Hook
                                     Belt Hook Hats Hook Closet Belt Organizer Rotary Hanger Iron Clothing Wallet Holder to Rotate : Home & Kitchen

31   Alibaba   Lindon Co., Ltd.
                                   https://www.alibaba.com/product-detail/LINDON-2023-New-Design-Stainless-Steel_1600782492362.html?spm=a2700.gall
                                                                    eryofferlist.topad_classic.d_image.41a5769aULKHCw

32   Alibaba   Guangxi Guilin
                                   https://www.alibaba.com/product-detail/Belt-Hanger-with-8-Claws-Rotatable_1600929139461.html?spm=a2700.galleryoffer
               Glory Hanger Co.,
                                                                          list.normal_offer.d_image.6d46769azsOFag
               Ltd.
33   Alibaba   Yiwu    Ruilang
                                   https://www.alibaba.com/product-detail/Household-Wardrobe-Rotatable-8-Hook-Metal_1600938605382.html?spm=a2700.g
               Imp&Exp    Co.,
                                                                    alleryofferlist.normal_offer.d_image.6d46769azsOFag
               Ltd.
34   Alibaba   Owentek Co., Ltd.
                                   https://www.alibaba.com/product-detail/OWENTEK-8-Hooks-Metal-Belt-Tie_1600979886892.html?spm=a2700.galleryoffe
                                                                         rlist.normal_offer.d_image.6f6d769an2YN3J
                         Case: 1:24-cv-01841 Document #: 1-1 Filed: 03/05/24 Page 5 of 6 PageID #:11




35   Alibaba   Guangxi   Glory
                                    https://www.alibaba.com/product-detail/Multifunctional-Metal-belt-organizer-8-Claws_1600930470413.html?spm=a2700.ga
               Household Co.,
                                                                     lleryofferlist.normal_offer.d_image.12c12f20AbYwyp
               Ltd.
36   Alibaba   Meizhou Besten
                                    https://www.alibaba.com/product-detail/New-Design-Stainless-Steel-8-Hooks_1600867309549.html?spm=a2700.galleryoffe
               Industrial Co.,
                                                                          rlist.normal_offer.d_image.1dca769aMOvjmF
               Ltd.
37   Alibaba   Ningbo Mixwares
                                    https://www.alibaba.com/product-detail/Multifunctional-Hook-360-Degree-Rotation-Electroplated_1600923956778.html?sp
               Imp. & Exp Co.,
                                                                  m=a2700.picsearch.normal_offer.d_image.45e45f93kB9xZa
               Ltd.
38   Alibaba   Hunan Province
                                    https://www.alibaba.com/product-detail/subject_1600969660880.html?from=share&ckvia=share_63F000580A9A4D38A2E
               Xu Jie Household
                                                                                      46BDB8AC05F49
               Products Co., Ltd.
39   Walmart   Romansa
                                    https://www.walmart.com/seller/101451127?itemId=5085003544&pageName=item&returnUrl=%2Fip%2F360-Swivel-Belt-
                                            Hanger-Closet-Storage-Hook-and-Closet-Organizer-Swivel-Hanger%2F5085003544%3Ffrom%3D%2Fsearch

40   TEMU      NeslGencLB           https://www.temu.com/1pc-stainless-steel-rotatable-rack-hook-hanging-belt-hanger-8-claw-belt-rack-closet-hanger-accessori
                                    es-multipurpose-hanging-storage-holder-hook-space-saving-g-601099523363224.html?top_gallery_url=https%3A%2F%2Fi
                                    mg.kwcdn.com%2Fproduct%2FFancyalgo%2FVirtualModelMatting%2Fafafcc22618c4230c4fd15a6f65d88d7.jpg&spec_gal
                                    lery_id=2021834996&refer_page_sn=10009&refer_source=0&freesia_scene=2&_oak_freesia_scene=2&_oak_rec_ext_1=N
                                    jc2&search_key=Belt%20Hanger&refer_page_el_sn=200049&_x_sessn_id=0a4u2zlew0&refer_page_name=search_result&
                                                                 refer_page_id=10009_1701416926014_5d4idy6xjl&is_back=1
41   TEMU      HomeMe               https://www.temu.com/1pc-belt-hanger-with-8-hooks-tie-metal-rack-for-ties-scarves-belts-camisoles-bags-household-accesso
                                    ry-storage-organizer-for-bathroom-bedroom-closet-wardrobe-home-dorm-g-601099527813693.html?top_gallery_url=https%
                                    3A%2F%2Fimg.kwcdn.com%2Fproduct%2Fopen%2F2023-09-27%2F1695795237696-53f096cdd37148ec9feff07c94d6fc3f
                                    -goods.jpeg&spec_gallery_id=2037159466&refer_page_sn=10009&refer_source=0&freesia_scene=2&_oak_freesia_scene=
                                    2&_oak_rec_ext_1=Njc4&search_key=Belt%20Hanger&refer_page_el_sn=200049&_x_sessn_id=0a4u2zlew0&refer_page
                                                      _name=search_result&refer_page_id=10009_1701415114857_6jwwswpaj7&is_back=1
                        Case: 1:24-cv-01841 Document #: 1-1 Filed: 03/05/24 Page 6 of 6 PageID #:12




42   TEMU      Yunqu               https://www.temu.com/1pc-stainless-steel-rotatable-rack-hook-hanging-belt-hanger-8-claw-belt-rack-closet-hanger-accessori
                                   es-multipurpose-hanging-storage-holder-hook-space-saving-retail-display-hook-rack-g-601099531814372.html?top_gallery_
                                   url=https%3A%2F%2Fimg.kwcdn.com%2Fproduct%2FFancyalgo%2FVirtualModelMatting%2F3b217a1130d7317251d3bc
                                   7a2098e167.jpg&spec_gallery_id=2046122394&refer_page_sn=10009&refer_source=0&freesia_scene=2&_oak_freesia_sc
                                   ene=2&_oak_rec_ext_1=NTk4&search_key=multi-claw%20rotating%20hanger&refer_page_el_sn=200049&refer_page_na
                                   me=search_result&refer_page_id=10009_1706582743502_0duu5s3w1k&_x_sessn_id=j5vf8yscfi&is_back=1&no_cache_id
                                                                                            =7hrd3
43   TEMU      BINGBOHO
               HOOM                                          Large Capacity Belt Storage Hanger Rotatable Belt Hanger For - Temu

44   Alibaba   GUILIN IANGO
                                   https://www.alibaba.com/product-detail/Space-Saver-Belt-Hanger-Stainless-Steel_1600733946088.html?spm=a2700.picsear
               CO., LTD
                                                                          ch.normal_offer.d_image.31f25f938ePLbn

45   Alibaba   Meizhou Besten
                                   https://www.alibaba.com/product-detail/Multi-Functional-Creative-Rotating-Coat-Hook_1600868192106.html?spm=a2700.p
               Industrial Co.,
                                                                       icsearch.normal_offer.d_image.31f25f938ePLbn
               Ltd.
46   Alibaba   Hangzhou
                                   https://www.alibaba.com/product-detail/Metal-hook-free-installation-Multi-function_1600939164467.html?spm=a2700.picse
               Qiangshuo
                                                                          arch.normal_offer.d_image.31f25f938ePLbn
               Trading Co., Ltd.
47   Amazon    POP BABY            https://www.amazon.com/HAKDAY-Rotatable-Organizer-Hanging-Storage/dp/B0CNT6J4LS/ref=sr_1_21?crid=ZR80AH43
                                    DLG2&dib=eyJ2IjoiMSJ9.4Vmiuu8nEM_0VZqpm9MP2V9Bw-X-qWg9NFyezu8_zvZE2jaumGUP4wU4BnWuIAk-sxoQ
                                   K5yKsBd4pTTuWb8m0BBEZy9ggJNMe4kbfYAb3x2fZdvFEkQI8ErkqzYIxerNmtsdeK-iSWS6Ko9AQLQUrbMaL0vShh8
                                    btFoL4jpGzAyxsNmxIDIm-hzv3mlsje3D03XrYQIEo4SO08p9GyLsfGVnh4YNnlZDYq52L9OQzXYIAihdak-9X3oaHgyE
                                   ULDRZicrLvJLO7HXoH82v0asCboojSTaBuYkpPvAXaUqAhI.tkXX-BZ8At0SGYaVgvntNFrbsYRoVkJzcUe0EWssIOE&
                                   dib_tag=se&keywords=tank+top+hanger&qid=1709137215&sprefix=tank+top+hang%2Caps%2C681&sr=8-21-spons&sp_c
                                                                      sd=d2lkZ2V0TmFtZT1zcF9tdGY&psc=1
